






						NO. 12-08-00447-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


HENRY T. MADDOX,§
		APPEAL FROM THE 241ST

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of jurisdiction.  Appellant was convicted of the
offense of aggravated robbery, and punishment was imposed in open court on August 6, 2008.
Consequently, Appellant's notice of appeal was due on September 5, 2008.  See Tex. R. App. P.
26.2(a)(1).  However, Appellant filed his notice of appeal on October 30, 2008. 

 	  Appellant's October 30, 2008 notice of appeal is untimely, which leaves us without
jurisdiction over the appeal.  On November 10, 2008, this court notified Appellant that there was no
notice of appeal filed within the time allowed by rule 26.2 and there was no timely motion for an
extension of time to file the notice of appeal as permitted by Texas Rule of Appellate Procedure
26.3.  Appellant was further informed that the appeal would be dismissed unless, on or before
November 20, 2008, the information in the appeal was amended to show the jurisdiction of this
court.  Appellant responded that his notice of appeal was intended for the court of criminal appeals
and that he was seeking a writ of habeas corpus, not a direct appeal.  Therefore, he does not oppose
the dismissal. (1)
  Consequently, this appeal is dismissed for want of jurisdiction. 


Opinion delivered November 26, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.































(DO NOT PUBLISH)
1.       Appellant asks that this court order the trial court to forward his notice of appeal to the court of criminal
appeals.  Even if such an order would be effective, it would not accomplish Appellant's purpose.  A request for
postconviction habeas relief in a felony case can be made only by filing an application in compliance with the provisions
of article 11.07 of the Texas Code of Criminal Procedure.  A notice of appeal is not the same as an application for writ
of habeas corpus.  



